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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                    CASE No. 1:16-cv-22090-KMM


  SHEHAN WIJESINHA,
  individually and on behalf of all others
  similarly situated,                                            CLASS ACTION

            Plaintiff,                                           JURY TRIAL DEMANDED

  v.

  DIRECTV, LLC,

        Defendant.
  ____________________________________/

                          PLAINTIFF’S REPLY TO DEFENDANT’S BRIEF IN
                         OPPOSITION TO MOTION FOR RECONSIDERATION

            Plaintiff, Shehan Wijesinha, pursuant to Southern District Local Rule 7.1, hereby files his

  Reply to Defendant’s Brief in Opposition to Motion for Reconsideration [ECF No. 22], and

  states as follows:

       I.       INTRODUCTION

            Defendant’s failure to advance a single persuasive argument is further proof that

  reconsideration is warranted in this case. Unable to avoid the fact that Andermann v. Sprint

  Spectrum L.P., 785 F.3d 1157 (7th Cir. 2015) supports Plaintiff’s arguments, Defendant instead

  chooses to ignore the relevant facts of Andermann, focusing instead on issues that are not in

  dispute.      Ultimately, however, Defendant cannot escape the conclusion that Andermann

  mandates a holding in Plaintiff’s favor. Further, Defendant’s claim that Plaintiff relies on an

  incorrect legal standard in seeking reconsideration is simply incorrect. Plaintiff moved under the

  correct standard, which has been cited favorably by this Court. In all, Defendant’s opposition



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  lends further support to Plaintiff’s argument that reconsideration and denial of Defendant’s

  arbitration demand are proper.

      II.      ARGUMENT

            A. Defendant Ignores the Relevant Facts of Andermann.

            In its response, Defendant purports to “clarify” the facts of Andermann for the benefit of

  this Court. [ECF No. 22, pg. 3]. In “clarifying” Andermann, however, Defendant simply ignores

  the relevant facts of the case. Defendant’s analysis focuses almost exclusively on the fact that

  the Andermanns’ service agreements had terminated before Sprint placed pre-recorded calls to

  the Andermanns. See Id. Plaintiff does not dispute this and did not dispute it in his Motion for

  Reconsideration.1     Contrary to Defendant’s mischaracterization, the relevant inquiry is not

  whether Sprint’s calls were placed after termination of the Andermanns’ service agreements, but

  whether the calls were related to the Andermanns’ service agreements or unrelated telemarketing

  calls.

            Tellingly, Defendant does not acknowledge Sprint’s own characterization of the calls. As

  stated by Sprint:

                   It was the sale of the [Andermanns’] Service Agreements, and
                   impact such sale had on the services the Andermanns were
                   receiving thereunder, that prompted Sprint’s calls to the
                   Andermanns. Without this sale and corresponding impact on
                   services, it is undisputed that Sprint would not have called the
                   Andermanns’ cell phones.

  [ECF No. 21-2 at pg. 21]; (emphasis supplied).

            As outlined in Plaintiff’s Motion for Reconsideration, Plaintiff respectfully submits this

  Court misunderstood the nature of the calls at issue in the Andermann case. Sprint’s calls were


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    “While it is true that the Andermanns’ had already ported their numbers to a new company before
  receiving Sprint’s messages, Sprint was nevertheless contacting the Andermanns’ for the primary purpose
  of advising them of the termination of their existing services.” [ECF No. 21 at pg. 5].
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  not unrelated telemarketing calls like the calls in this case, but rather informational calls related

  directly to the Andermanns’ service agreements. Whether the calls occurred before or after the

  termination of the service agreements is immaterial. The inquiry before the court in Andermann

  was whether the calls were related to the service agreements and, therefore, fell within the scope

  of the arbitration clause contained in the service agreements.

         In light of the content of Sprint’s calls, Defendant cannot dispute that the calls were

  informational calls related to the Andermanns’ service agreements:

                 Hi, this is Gloria calling from Sprint to inform you that, recently,
                 U.S. Cellular sold certain assets to Sprint, including some
                 customer accounts. Your account was included in the sale. At
                 Sprint, we have a great set of offers and devices available to fit
                 your needs. You may return our call by dialing 877-624-0262 at
                 your convenience from 9 a.m. to 9 p.m. Central Standard Time,
                 Monday through Saturday.

  [ECF No. 21-1 ¶ 8]; (emphasis supplied). Therefore, Andermann supports Plaintiff’s original

  argument that arbitration is not warranted because Defendant’s calls, unlike the calls in

  Andermann, constituted telemarketing unrelated to Plaintiff’s Service Agreement.

         Further, Defendant contends that arbitration was properly granted because its calls were

  related to Plaintiff’s “agreement and service.” [ECF No. 22, pg. 4]. This argument ignores the

  plain language of Plaintiff’s Service Agreement. Plaintiff and Defendant agreed to arbitrate

  disputes “relating to this Agreement, any addendum, or your Service…” [ECF No. 11-3 at § 9];

  (emphasis supplied). There is no question that Defendant’s calls to Plaintiff did not relate to the

  Service Agreement or any addendum to the Agreement. Therefore, the remaining inquiry is

  whether Defendant’s calls were related to Plaintiff’s “Service,” a capitalized and specific term as

  used in the Service Agreement.




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         Under the terms of the Service Agreement, “Service will continue until canceled as

  provided herein.” Id. at § 5. At the time Defendant placed its automated calls, Plaintiff’s

  Service had terminated and all amounts owed by Plaintiff paid. Consequently, Defendant’s calls

  could not have been related to Plaintiff’s Service because that Service was no longer in effect.

  Defendant’s calls were not related to the Service Agreement or Service, but were instead

  telemarketing calls seeking to convince Plaintiff to enter into a new Service Agreement for new

  Service.

         A dispute arises from a contract if the tort in question is a “foreseeable result of the

  performance of contractual duties.” Doe v. Princess Cruise Lines, Ltd., 657 F.3d 1204, 1218

  (11th Cir. 2011). In other words, “some direct relationship” must exist between the plaintiff’s

  claim and the contract containing the arbitration clause. Id. Here, Defendant was not performing

  its contractual duties at the time it placed automated telemarketing calls to Plaintiff because the

  contract had been cancelled by Plaintiff.     Additionally, there was no relationship between

  Defendant’s telemarketing calls and Plaintiff’s Service, which had been terminated before

  Defendant placed its calls.

         B. Plaintiff Relies on the Correct Legal Standard.

         As stated in Plaintiff’s motion, a district court must exercise reasonable discretion when

  ruling motion for reconsideration. White v. Bank of America Bank, N.A., 2014 WL 7356447 at

  *5 (11th Cir. Dec. 29, 2014). This is the correct standard and has been cited favorably by this

  Court. See Craddock v. M/Y The Golden Rule, 110 F. Supp. 3d 1267, 1271-72 (S.D. Fla.

  2015)(Moore, C.J.)(“The decision whether to grant or deny a motion to reconsider is within the

  court's discretion.”)(citing Am. Home Assurance Co. v. Glenn Estess & Assoc., 763 F.2d 1237,

  1238-39 (11th Cir. 1985)). “The purpose of a motion for reconsideration is ‘to permit the trial



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  judge to reconsider . . . matters so that he can correct obvious errors or injustices and so perhaps

  obviate the laborious process of appeal.’” JTR Enters., LLC v. An Unknown Quantity, No. 11-

  cv-10074-KMM, 2014 U.S. Dist. LEXIS 188887, at *2 (S.D. Fla. July 10, 2014) (citing Carter

  ex rel. Carter v. United States, 780 F.2d 925, 928 (11th Cir. 1986) (quoting Fackelman v. Bell,

  564 F.2d 734, 736 (11th Cir. 1977))).

            Here, Plaintiff has demonstrated that reconsideration is warranted. This Court appears to

  have mistakenly applied the Andermann opinion in reaching its conclusion. Plaintiff respectfully

  submits that this error must be corrected to avoid manifest injustice to Plaintiff and members of

  the putative class. Plaintiff has sufficiently met his burden and respectfully requests for this

  Court to reconsider its decision to compel arbitration.

     III.      CONCLUSION

            Defendant fails to advance a single compelling argument in response to Plaintiff’s well-

  founded motion. As demonstrated by Plaintiff, the reasoning and holding in Andermann support

  a ruling denying arbitration in this case.

            WHEREFORE, Plaintiff, Shehan Wijesinha, requests an Order (1) granting Plaintiff’s

  Motion for Reconsideration; (2) vacating the Court’s Order Granting Motion to Compel

  Arbitration; (3) denying Defendant’s Motion to Compel Arbitration; and (4) granting all such

  other and further relief deemed just and equitable under the circumstances.




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  Dated: December 7, 2016



                                                        Respectfully submitted,

                                                        /s/ Scott D. Owens
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                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on December 7, 2016, I electronically filed the foregoing

  document with the Clerk of Court using CM/ECF. I also certify that the foregoing document is

  being served this date via U.S. mail and/or some other authorized manner for those counsel of

  parties, if any, who are not authorized to receive electronically Notice of Electronic Filing.


                                                        By: /s/ Scott D. Owens
                                                                Scott D. Owens, Esq.




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